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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    YELLOW CORPORATION, et al.,                                Case No. 23-11069 (CTG)
                                                               (Jointly Administered)
                     Debtors.1
                                                               Re: Docket No. ____

     ORDER GRANTING MOTION OF CORPORATE LODGING CONSULTANTS INC.
      AND COMDATA, INC., PURSUANT TO BANKRUPTCY CODE SECTION 362(d),
     BANKRUPTCY RULE 4001, AND LOCAL RULE 4001-1, FOR RELIEF FROM THE
        AUTOMATIC STAY TO EFFECTUATE SETOFF OF SECURITY DEPOSIT

             Upon consideration of the Motion of Corporate Lodging Consultants Inc. and Comdata,

Inc., Pursuant to Bankruptcy Code Section 362(d), Bankruptcy Rule 4001, and Local Rule 4001-

1, for Relief From the Automatic Stay to Effectuate Setoff of Security Deposit (the “Motion”);2 and

it appearing that notice of the Motion was good and sufficient upon the particular circumstances

and that no other or further notice need be given; and the Court having considered the Motion and

any responses thereto; and after due deliberation thereon and good and sufficient cause appearing

therefor;

IT IS THEREFORE ORDERED THAT:

             1.     The Motion is GRANTED.

             2.     The automatic stay under section 362 is hereby lifted to permit the Movants to

exercise their right to offset the Security Deposit against the prepetition amounts described in the

Motion (as may be amended).



1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of
business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, Kansas
66211.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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       3.      This Order shall have no effect on any claims (whether prepetition or postpetition)

of the Movants that are not set off against the Security Deposit, and the Movants’ rights with

respect to such claims are fully preserved.

       4.      The Movants are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

       5.      This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.




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